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  The relief described hereinbelow is SO ORDERED.

  Signed June 23, 2020.


                                             __________________________________
                                                          Ronald B. King
                                               Chief United States Bankruptcy Judge




                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

  In re:                                        §          Chapter 11
  KRISJENN RANCH, LLC                           §
         Debtor                                 §       Case No. 20-50805
                                                §
  ______________________________________________________________________________
  KRISJENN RANCH, LLC and                       §
  KRISJENN RANCH, LLC-SERIES                    §
  UVALDE RANCH, and KRISJENN                    §
  RANCH, LLC-SERIES PIPELINE                    §
  ROW as successors in interest to              §
  BLACKDUCK PROPERTIES, LLC,                    §
                                                §
        Plaintiffs                              §
  v.                                            §
  DMA PROPERTIES, INC., and                     §
  LONGBRANCH ENERGY, LP,                        §     Adversary No. 20-05027
        Defendants                              §
  ______________________________________________________________________________
  DMA PROPERTIES, INC                           §
        Counter-Plaintiff/Third Party Plaintiff §
  v.                                            §
  KRISJENN RANCH, LLC,                          §
  KRISJENN RANCH, LLC-SERIES                    §
  UVALDE RANCH, and KRISJENN                    §
  RANCH, LLC-SERIES PIPELINE ROW,               §
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  BLACK DUCK PROPERTIES, LLC,                   §
  LARRY WRIGHT, and JOHN TERRILL                §
      Counter-Defendants/Third-Party Defendants §

        ORDER ON KRISKENN RANCH, LLC, KRISKENN RANCH, LLC-SERIES
     UVALDE RANCH, AND KRISJENN RANCH, LLC-SERIES PIPELINE ROW, AS
   68&&(66256,1,17(5(6772%/$&.'8&.3523(57,(6//&¶6UNOPPOSED
      027,2172(;7(1'7,0(72$16:(572'0$3523(57,(6,1&¶6
                            COUNTERCLAIM

          On this day came to be heard Debtors, Plaintiffs, and Counter-Defendants KrisJenn Ranch,

  LLC, KrisJenn Ranch, LLC-Series Uvalde Ranch, and KrisJenn Ranch, LLC-Series Pipeline Row,

  DVVXFFHVVRUVLQLQWHUHVWWR%ODFN'XFN3URSHUWLHV//&¶V FROOHFWLYHO\WKH³'HEWRUV´ Unopposed

  0RWLRQWR([WHQG7LPHWR$QVZHU'0$3URSHUWLHV,QF¶V&RXQWHUFODLP (WKH³0RWLRQ´). Finding

  that good cause exists for the relief requested, with no objection being made to the Motion, and

  after careful consideration of all matters before it, the Court is of the opinion that the Motion should

  be granted.

          It is therefore ORDERED that KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-Series Uvalde

  Ranch, and KrisJenn Ranch, LLC-Series Pipeline Row, as successors in interest to Black Duck

  3URSHUWLHV//&¶VGHDGOLQHWRUHVSRQGWR'0$3URSHUWLHV,QF¶V&RXQWHUFODLPDQG7KLUG-Party

  Complaint is hereby extended by one week. It is further ORDERED that the Debtors shall file

  their response no later than JuQH 29, 2020.

                                                    ###
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  SUBMITTED BY:

  MULLER SMEBERG, PLLC

    /s/ Ronald J. Smeberg
  RONALD J. SMEBERG
  State Bar No. 24033967
  ron@smeberg.com
  111 W. Sunset Rd.
  San Antonio, TX 78209
  Telephone: 210-664-5000
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  ATTORNEY FOR DEBTORS
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                                               United States Bankruptcy Court
                                                 Western District of Texas
Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
         Plaintiff                                                                                Adv. Proc. No. 20-05027-rbk
DMA Properties, Inc.,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: lunae                        Page 1 of 1                          Date Rcvd: Jun 23, 2020
                                      Form ID: pdfintp                   Total Noticed: 7


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 25, 2020.
aty            +Christopher S. Johns,    JOHNS & COUNSEL PLLC,   14101 Highway 290 West,    Suite 400A,
                 Austin, TX 78737-9376
aty            +Jeffery Duke,   DUKE BANISTER MILLER & MILLER,    22310 Grand Corner Drive,    Suite 110,
                 Katy, TX 77494-7467
aty            +Michael Black,   BURNS & BLACK PLLC,    750 Rittiman Road,   San Antonio, TX 78209-5500
aty            +Timothy Cleveland,    CLEVELAND TERRAZAS PLLC,   4611 Bee Cave Road,   Suite 306B,
                 Austin, TX 78746-5284

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion07.cc.ecf@usdoj.gov Jun 24 2020 02:14:39     US Trustee,
                 606 N Carancahua,   Corpus Christi, TX 78401-0680
ust             E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Jun 24 2020 02:14:34
                 United States Trustee - SA12,   US Trustee’s Office,   615 E Houston, Suite 533,    PO Box 1539,
                 San Antonio, TX 78295-1539
intp            E-mail/Text: USTPRegion07.SN.ECF@usdoj.gov Jun 24 2020 02:14:34     U.S. Trustees Office,
                 P. O. Box 1539,   San Antonio, TX 78295-1539
                                                                                            TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
ust*              U.S. Trustees Office,   P. O. Box 1539,   San Antonio, TX                    78295-1539
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 25, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 23, 2020 at the address(es) listed below:
              Austin Hammer Krist   on behalf of Defendant   DMA Properties, Inc. akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Third Pty Plaintif Frank Daniel Moore
               akrist@clevelandterrazas.com
              Austin Hammer Krist   on behalf of Interested Party Frank Daniel Moore
               akrist@clevelandterrazas.com
              Charles John Muller, IV   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row john@muller-smeberg.com,
               mary.ables-miller@chamberlainlaw.com
              Ronald J. Smeberg   on behalf of Plaintiff   Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series
               Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
                                                                                            TOTAL: 5
